                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                                       Criminal No.
      UNITED STATES OF AMERICA

                                                       Violations:
                V.


                                                       Coimt One: Raeketeering Conspiracy
      WILLIAM RICK SINGER,                             (18U.S.C. § 1962(d))

                        Defendant.                     Count Two: Money Laundering Conspiracy
                                                       (18U.S.C. § 1956(h))

                                                       Count Three: Conspiracy to Defraud
                                                       the United States
                                                       (18U.S.C. § 371)

                                                       Count Four: Obstruction of Justice
                                                       (18U.S.C. § 1512(c)(2))

                                                       RICO Forfeiture Allegations:
                                                       (18 U.S.C. § 981(a)(1)(C), 18 U.S.C. § 1963(a)

                                                       Money Laundering Forfeiture Allegations
                                                       (18 U.S.C. § 982(a)(1))

                                        INFORMATION


      At all times relevant to this Information:


                                       General Allegations

       1.      The defendant, WILLIAM RICK SINGER, was a resident, variously, of

Sacramento and Newport Beach, California. SINGER owned the Edge College & Career Network,

LLC and served as Chief Executive Officer of the Key Worldwide Foundation.

                                          The Enterprise


       2.      The Edge College & Career Network, LLC, also known as "The Key," was a for-

profit college counseling and preparation business that SINGER founded in or about 2007 and

incorporated in the State of California in or about 2012.
       3.      The Key Worldwide Foundation ("KWF") was a non-profit corporation in

Newport Beach, California that SINGER established as a purported charity in or about 2012. In

or about 2013, the Internal Revenue Service ("IRS") approved KWF as an exempt organization

under Section 501(c)(3) of the Internal Revenue Code, meaning that KWF was exempt from

pajdng federal income tax. KWF maintained several bank accounts (collectively, the "KWF

charitable accounts").

       4.      Together, The Key and KWF constituted an "enterprise" as defined by Title 18,

United States Code, Section 1961(4) (the "Key Enterprise"), that is, an association in fact of

entities engaged in, and the activities of which affected, interstate and foreign commerce ("the

enterprise"). The Key Enterprise constituted an ongoing organization whose members functioned

as a continuing unit for a common purpose of achieving the objectives of the enterprise.

                                     Other Relevant Entities


       5.      ACT, Inc. is a non-profit organization headquartered in Iowa City, Iowa that

administers the ACT exam, a standardized test that is widely used as part ofthe college admissions

process in the United States.

       6.      The College Board is a non-profit organization headquartered in New York, New

York. Together with Educational Testing Service ("ETS"), a nonprofit organization headquartered

in Lawrence Township, New Jersey, the College Board develops and administers the SAT, a

standardized test that, like the ACT exam, is widely used as part ofthe college admissions process

in the United States. The College Board and ETS also develop and administer SAT subject tests,

which are also used as part of the college admissions process.
       7.      Georgetown University ("Georgetown") is a highly selective private university

located in Washington, D.C.

       8.      Stanford University ("Stanford") is a highly selective private university located in

Palo Alto, California.    i                                                        :

       9.      The University of California at Los Angeles ("UCLA") is a highly selective public

university located in Los Angeles, California.

       10.     The University of San Diego ("USD") is a selective private university located in

San Diego, California.

       11.     The University of Southern California ("USC") is a highly selective private

university located in Los Angeles, California.

       12.     The University of Texas at Austin ("U-Texas") is a highly selective public

university located in Austin, Texas.

       13.     Wake Forest University ("Wake Forest") is a highly selective private university

located in Winston-Salem, North Carolina.

       14.       Yale University ("Yale") is a highly selective private university located in New

Haven, Connecticut.

       15.      The athletic teams of Georgetown, Stanford, UCLA, USD, USC, U-Texas, Wake

Forest and Yale (collectively, "the Universities") compete in most sports at the Division I level,

the highest level of intercollegiate athletics sanctioned by the National Collegiate Athletic

Association ("NCAA").

       16.     Each of the Universities annually receives more than $10,000 in federal grants.
               Background on Standardized Testing and the College Admissions Process

         17.      Most selective colleges in the United States require students to take a standardized

test, such as the ACT or the SAT, as part of the admissions process.

         18.      The ACT includes sections on English, mathematics, reading and science.

         19.      The SAT includes sections on writing, critical reading and mathematics.

         20.      The ACT and the SAT are typically administered to large groups of students on

specified dates and under strict time limits. In some instances, however, students with certain

learning or other disabilities may qualify for extended time and, in such circumstances, may take

the test alone, under the supervision of a test administrator retained by ACT, Inc. or the College

Board.


         21.      Prior to administering the ACT, test administrators must typically certify that they

will administer the exam in accordance with the ACT Administration Manual, and will ensure that

the "test materials are kept secure and confidential, used for this examinee only, and returned to

ACT immediately after testing."

         22.      Similarly, prior to administering the SAT exam, test adnimistrators must typically

certify that they will administer the test in accordance with the SAT coordinator's manual, that the

SAT test is the property of the College Board, and that no one other than the student can "open the

test book and see the test content."


         23.      The ACT tests are sent to and from the testing sites via Federal Express, a private,

interstate commercial carrier.


         24.      The SAT tests are sent to and fiom the testing sites via United Parcel Service

("UPS"), a private, interstate commercial carrier.
        25.     Most of the Universities require prospective students to submit standardized test

scores as part oftheir application packages. When submitted, standardized test scores are a material

part of the admissions process at each of the Universities. All of the Universities recruit student

athletes, and may apply different criteria when evaluating applications from students with

demonstrated athletic abilities. Recruited student athletes at USC, for examplei, are typically

considered by a designated; admissions sub-committee, which gives significant consideration to

their athletic abilities and which frequently admits applicants whose grades and standardized test

scores are below those of other USC students, including non-recruited athletes. The admissions

offices at the Universities typically allot a set number of slots to each head coach of a varsity sport

for that coach's recruited athletes. At each ofthe Universities, the admissions prospects ofrecruited

athletes are higher—and in some cases significantly higher—^than those of non-recruited athletes

with similar grades and standardized test scores.

                                     The Racketeering Conspiracv

                               Purposes of the Racketeering Conspiracv

        26.     The principal purposes of the racketeering conspiracy included the following:

                a.      to facilitate cheating on college entrance exams;

                b.      to facilitate the admission of students to elite universities as recruited

athletes, regardless of their athletic abilities; and,

                c.      to enrich SINGER and his co-conspirators personally.
                        Manner and Means of the Racketeering Conspiracy

       27.     Among the manner and means by which SINGER and others known and unknown

to the United States Attorney carried out the racketeering conspiracy were the following:

               a.      facilitating cheating on the SAT and ACT exams in exchange for bribes by

arranging for or allowing a: third party to secretly take the exams in place of the actual students, or

to replace the students' exam responses with his own;

               b.      designating applicants as purported recruits for competitive college athletic

teams, without regard for the applicants' athletic abilities, in exchange for bribes; and

               c.      concealing the nature and source of the bribe pa3mients by flximeling

pajmients through the KWF charitable accoimts.

                       Acts in Furtherance of the Racketeering Conspiracy

       28.     On various dates between 2011 and September 2018, SINGER and others known

and unknown to the United States Attorney committed and caused to be committed the following

acts, among others, in furtherance of the racketeering conspiracy:

A.     Cheating on Standardized Tests


       29.     SINGER agreed with clients whose children were scheduled to take the SAT or

ACT exams as part of the college admissions process to have another individual either take the

tests in their children's place or correct the children's answers after they had completed the tests.

        30.    Parents generally paid SINGER between $15,000 and $75,000 per test, typically

structuring the payments as purported donations to KWF that they wired or deposited into one of

the KWF charitable accounts.


        31.    To facilitate the cheating, SINGER counseled parents to seek extended time on the

exams, including by having their children purport to have learning disabilities in order to obtain
                                                  6
medical documentation that ACT, Inc. and the College Board typically required before granting

students extended time.


       32.     SINGER used the purported charitable donations from parents, at least in part, to

bribe two SAT and ACT test administrators: Test Administrator 1, who administered the exams

at a private school in Los Angeles, California, and Test Administrator 2, who administered the

exams at a public high school in Houston, Texas.

       33.     SINGER typically caused Test Administrator 1 to be paid $10,000 from one of the

KWF charitable accounts for each student who took the exam at his school. SINGER initially paid

Test Administrator 2 through a third party, but in July 2018 SINGER sent Test Administrator 2 a

$5,000 check for administering the test to a student.

       34.     In exchange for the bribe payments. Test Administrators 1 and 2 allowed another

individual. Test Taker 1, to secretly take the ACT and SAT tests in place of the children of

singer's clients, or to replace the children's exam responses with his own, in violation of the

duty of honest services they owed to ACT, Inc. and the College Board.

       35.     SINGER typically caused Test Taker 1 to be paid $10,000 per test, usually from

one of the KWF charitable accounts.


       36.      Test Administrators 1 and 2 then caused the falsified exams to be retumed to ACT,

Inc. and the College Board via Federal Express and UPS, respectively,so that they could be scored.

B.     The Student-Athlete Recruitment Scam


        37.    SINGER also was paid approximately $25 million by clients to bribe coaches and

vmiversity administrators to designate the clients' children as recruited athletes, in violation of the

duty ofhonest servicesthe coaches and administratorsowed to their employers,thereby facilitating
the children's admission to the Universities.


               i.      Yale


       38.     As one example of the recmitment scam, SESfGER agreed in or about November

2017 to facilitate the admission of an applicant to Yale ("Yale Applicant 1"), in exchange for a

payment of $1.2 million.

       39.     SINGER subsequently sent the head coach of the Yale women's soccer team an

athletic "profile," created at SINGER's direction, which falsely described Yale Applicant 1 as the

co-captain of a prominent club soccer team in southem California.

       40.     The soccer coach thereafter designated Yale Applicant 1 as a recruit for the Yale

women's soccer team despite the fact that, as the coach knew at the time, Yale Applicant 1 did not

play competitive soccer.

       41.     On or about January 1,2018, after Yale Applicant 1 was admitted to Yale, SINGER

mailed the soccer coach a check for $400,000, drawn on one of the KWF charitable accoimts.

       42.     In or about the spring and summer of 2018, the client paid SINGER approximately

$1.2 million in multiple installments, including approximately $900,000 that was paid into one of

the KWF charitable accounts.


       43.     SINGER similarly bribed coaches and administrators at each of the Universities to

designate students as recruited athletes.

               ii.     use


       44.     For example, SINGER directed payments totaling approximately $350,000 to a

private soccer club controlled by two USC soccer coaches.
          45.   In exchange for these payments, the coaches designated four children of SINGER's

clients as recruits for the soccer team, thereby facilitating their admission to USC, despite the fact

that none of the children played competitive soccer.

          46.   Likewise, SINGER made payments to a bank accoimt at USC that funded the water

polo team.

          47.   In exchange for the bribes, the water polo coach designated two students as recruits

for the water polo team, thereby facilitating the students' admission to USC.

          48.   SINGER also made private school tuition payments for the children of the water

polo coach—^under the guise of a fabricated scholarship—^via checks drawn on one of the KWF

charitable accormts and sent to the school via U.S. Mail, in exchange for the water polo coach's

commitment to designate one of SINGER's clients as a recruit for the USC water polo team in the

future.


          49.   In addition, on multiple occasions, SINGER's clients made payments of between

$50,000 and $100,000 to a university account controlled by a senior official of USC's athletic

department (the "USC Administrator"), typically an accoimt for the USC Women's Athletic

Board.


          50.   SINGER also entered into a sham consulting agreement with the USC

Administrator, pursuant to which, beginning in July 2018, he directed payments of $20,000 per

month to the USC Administrator personally via checks drawn on one of the KWF charitable

accounts and sent to the USC Administrator via U.S. Mail.


          51.   In exchange for the bribes, the USC Administrator helped facilitate the admission

of several dozen students to USC as recruited athletes, even though many of those students had
fabricated athletic credentials and some did not even play the sports they were purportedly being

recruited to play.

                iii.   Georgetown


         52.   Between 2012 and 2018, SINGER paid a Georgetown tennis coach bribes, falsely

labeled as "consulting" fees, totaling more than $2.7 million. SINGER typically made the

payments from one of the KWF charitable accounts and sent them to the coach via U.S. Mail,

including in several instances to the coach's residence in Falmouth, Massachusetts. ^

         53.   In exchange for the bribes, the Georgetown coach designated approximately 12

applicants as recruits for the Georgetown tennis team, including some who did not play tennis

competitively, thereby facilitating their admission to the imiversity.

               iv.     UCLA


         54.   As another example, in or about 2016, SINGER directed $100,000 from one ofthe

KWF charitable accounts to a sports marketing company controlled by the UCLA men's soccer

coach.


         55.   In exchange for that bribe, the coach arranged for the daughter of one of SINGER's

clients to be designated as a recruit for the UCLA women's soccer team, thereby facilitating her

admission to UCLA.


               V.      Wake Forest


         56.    As yet another example, in or about 2017, SINGER directed $100,000 from one of

the KWF charitable accormts to accounts controlled by the women's volleyball coach at Wake

Forest, including $10,000 to the Wake Forest Deacon Club, $40,000 to Wake Forest Women's

Volleyball, and $50,000 to a private volleyball camp the Wake Forest coach controlled.


                                                 10
       57.     In exchange for this money, the Wake Forest coach agreed to designate the daughter

of one of SINGER'S clients—^who had previously applied to Wake Forest and been placed on the

wait list—^as a recruit for the women's volleyball team, thereby facilitating her admission to the

university.

               vi.     Stanford


       58.     In or about the fall of 2017, the Stanford sailing coach agreed to designate the child

of one of SINGER'S clients ("Stanford Applicant 1") as a recruit for the Stanford sailing team, in

exchange for a payment to Stanford sailing;

       59.     In support of the student's application, SINGER, together with others, created a

student-athlete "profile" that was submitted to Stanford, and that falsely suggested that Stanford

Applicant 1 was a competitive sailor.

       60.     In May 2018, after Stanford Applicant 1 deferred his application to Stanford for

one year, SINGER directed a payment of $110,000 from one of the KWF charitable accounts to

the Stanford sailing program in exchange for the sailing coach's agreement to designate Stanford

Applicant 1 as a sailing recruit in the following year's recruitment cycle.

       61.     In or about the summer of 2018, after Stanford Applicant 1 decided to attend a

different university, the Stanford sailing coach agreed with SINGER to use that same recruiting

spot for the child of another one of SlNGER's clients, in exchange for a $500,000 payment to the

Stanford sailing program.

       62.     In support of the student's application, SINGER, together with others, created

docmnents falsely indicating that the student was a competitive sailor, although the student in fact

had minimal sailing experience.


                                                 11
       63.     Although that student ultimately did not apply to Stanford, SINGER directed a

payment of $160,000 from one of the KWF charitable accounts to the Stanford sailing program.

       64.     The Stanford sailing coach agreed with SINGER that the payment would serve as

a "deposit" for a future student's purported recruitment.

               vii.    U-Texas


       65.      In or about 2015, SINGER paid a termis coach at U-Texas approximately

$100,000.

       66.     In exchange for this bribe, the U-Texas coach designated the son of one of

SINGER'S clients, who did not play tennis competitively, as a recruit for the miiversity's tennis

team, thereby facilitating his admission to U-Texas.

               viii.   USD


       67.     In or about 2016, in exchange for a bribe paid to a third-party, a varsity coach at

USD designated the son of one of SINGER's clients, who did not play that sport, as a recruit for

the university's team, thereby facilitating his admission to USD.

       68.     In or about 2017, in exchange for an additional bribe, the same coach designated

another student as a recruit to manage the same USD team, thereby facilitating her admission to

USD.


                                    The Tax Fraud Consniracv

                                 Background on Federal Tax Law


       69.     The IRS is an agency of the United States Department of Treasury responsible for

administering and enforcing federal tax laws.




                                                 12
       70.     Section 501(c)(3) of the Internal Revenue Code permits organizations operated

exclusively for charitable purposes to be exempt from taxation ("501(c)(3) entities"). Among other

things, 501(c)(3) entities must not be organized or operated for the benefit ofprivate interests, and

none of the earnings of a 501(c)(3) entity may inure to the benefit of any private shareholder or

individual.


       71.     To encourage public support of charitable organizations, federal law permits

individuals to deduct contributions to 501(c)(3) entities from their taxable income. Such

deductions, which are subject to certain limitations, are typically reported to the IRS on a donor's

income tax retums, thereby reducing the donor's income tax obligation.

       72.     Title 26, United States Code, Section 170 provides, among other things, that no

deduction for a charitable contribution of $250 or more shall be allowed unless it is substantiated

by a written acknowledgment from the recipient organization indicating whether any goods or

services were provided in considerationfor the contribution, and, ifso, providing a description and

good faith estimate ofthe value ofthe goods or services provided. Any deduction must be reduced

by the value of goods or services provided in exchange.

                                          The Conspiracv


       73.     Beginning in or about 2013, SINGER agreed with certain clients of The Key to

disguise bribe payments, at least in part, as charitable contributions to KWF. At SINGER's

direction, employees of KWF sent these clients acknowledgment letters falsely attesting that no

goods or services were exchanged for the purported donations.




                                                 13
                          Purposes and Objects of the Tax Fraud Conspiracy

       74.        A principal purpose and object of the tax fraud conspiracy was to allow clients of

The Key to improperly deduct the cost of the bribes from their federal income taxes, and thereby

to defraud the United States by underpaying federal income taxes.

                           Manner and Means of the Tax Fraud Conspiracy

       75.        Among the manner and means by which SINGER and others known and unknown

to the United States Attorney carried out the tax fraud conspiracy were the following:

       a.         registering KWF under Section 501(c)(3) of the Internal Revenue Code;

       b.         directing purported charitable donations to KWF, even though those funds were

intended to be used, at least in part, to bribe test administrators, athletic coaches and university

administrators;

       c.         sending acknowledgment letters falsely attesting that no goods or services were

exchanged for the purported donations to KWF; and

       d.         using the false acknowledgment letters as a basis to support fraudulent deductions

from their federal income taxes.


                        Overt Acts in Furtherance of the Tax Fraud Conspiracv

       76.        On various dates between 2012 and September 2018, SINGER and others known

and unknown to the United States Attorney committed or caused to be committed the following

overt acts, among others, in furtherance of the tax fraud conspiracy:

       77.        In or about 2016, SINGER agreed with a Hillsborough, California couple who

wanted their daughter to attend UCLA (the "Hillsborough Parents") to use bribes to facilitate their

daughter's admission to the university as a purported soccer recruit.


                                                  14
           78.   On or about May 24, 2016, the Hillsborough Parents emailed SINGER their

daughter's high school transcript and standardized test scores.

           79.   SINGER forwarded the transcript and test scores to the UCLA men's soccer coach,

who forwarded them to the UCLA women's soccer coach.

           80.   On or about June 28, 2016, the UCLA Student-Athlete Admissions Committee

approved the Hillsborough Parents' daughter ("UCLA Applicant 1") for "provisional student-

athlete admission," pursuant to which she would be admitted to the university on the condition that

she met certain requirements, including that she successfully completed her senior year of high

school and participated on the UCLA team as a student-athlete for a minimum ofone full academic

year.


           81.   On or about July 6,2016, the UCLA men's soccer coach emailed SINGER that the

Hillsborough Parents' daughter had been provisionally admitted to the university as a student-

athlete.


           82.   On or about July 7,2016, SINGER directed a payment of $100,000from one ofthe

KWF charitable accoimts to a sports marketing company controlled by the UCLA men's soccer

coach.


           83.   On or about July 8,2016, an employee of KWF emailed a $250,000 invoice to the

mother of UCLA Applicant 1. The invoice stated: "Private Contribution - Letter of receipt will

be provided upon payment."

           84.   On or about July 11, 2016, the father of UCLA Applicant 1 emailed SINGER

asking him to confirm in writing that the $250,000 would be returned to them in the event his

daughter did not receive final admission to UCLA.


                                                15
       85.      SINGER replied that he would return the money in the event UCLA Applicant 1

did not receive final admission to UCLA.


       86.      On or about July 15, 2016, the Hillsborough Parents donated 2,150 shares of

Facebook, Inc. stock to KWF as a purported charitable contribution. The stock transfer settled that

same day.

       87.      On or about July 21,2016, a KWF employee sent the Hillsborough Parents a letter

acknowledging a charitable contribution of $251,159. The letter stated: "Your generosity will

allow us to move forward with our plans to provide educational and self-enrichment programs to

disadvantaged youth." The letter falsely stated that "no goods or services were exchanged" for

the donation.


       88.      In or about November 2017, the Hillsborough Parents filed personal tax returns that

falsely reported total gifts to charity in 2016 of $1,061,890—a sum that included the purported

contribution to KWF.




                                                 16
                                          COUNT ONE
                                    Racketeering Conspiracy
                                     (18 U.S.C. § 1962(d))

       The United States Attorney charges;

       89.     The United States Attorney re-alleges and incorporates by reference paragraphs 1-

68 of this Information.


       90.     From in or about 2011, and continuing through September 2018, in the District of

Massachusetts and elsewhere, the defendant,

                                   WILLIAM RICK SINGER,

being a person associated with or employed by The Key Enterprise, an enterprise engaged in, and

the activities ofwhich affected interstate and foreign commerce, conspired with others known and

unknown to the United States Attorney to violate Title 18, United States Code, Section 1962(c),

that is, to conduct and participate, directly and indirectly, in the conduct of the affairs of the

enterprise through a pattem of racketeering activity, as defined in Title 18, United States Code,

Sections 1961(1) and (5); consisting of multiple acts indictable under:

               a. Title 18, United States Code, Section 1341 (relating to mail fraud);

               h. Title 18, United States Code, Sections 1341 and 1346 (relating to honest
                  services mail fraud);

               c. Title 18, United States Code, Section 1343 (relating to wire fraud);

               d. Title 18, United States Code, Sections 1343 and 1346 (relating to honest
                  services wire fraud); and

               e. Title 18, United States Code, Section 1956(a)(l)(B)(i) (relating to the
                  laundering of monetary instruments).




                                                17
       91.     It was part ofthe conspiracy that SINGER agreed that a conspirator would commit

at least two acts of racketeering activity in the conduct ofthe affairs of the enterprise.

       All in violation of Title 18, United States Code, Section 1962(d).




                                                  18
                                          COUNT TWO
                                  Money Lamdering Conspiracy
                                     (18U.S.C.§ 1956(h))

       The United States Attorney further charges:

       92.     The United States Attorney re-alleges and incorporates by reference paragraphs 1-

88 of this Information.


       93.     From in or about 2013 and continuing through September 2018, in the District of

Massachusetts and elsewhere, the defendant,

                                   WILLIAM RICK SINGER,

conspired with others known and unknown to the United States Attorney to conduct and attempt

to conduct financial transactions, to wit, payments to athletic coaches, university administrators,

and standardized test administrators, knowing that the property involved in such transactions

represented the proceeds of some form of unlawful activity, and which in fact involved the

proceeds of specified unlawful activity,that is, bribery, in violation ofTitle 18,United States Code,

Section 666(a)(2), mail fraud and honest services mail fraud, in violation ofTitle 18, United States

Code, Sections 1341 and 1346, and wire fraud and honest services wire fraud, in violation of Title

18, United States Code, Section 1343 and 1346, knowing that the transactions were designed, in

whole and in part, to conceal and disguise the nature, location, source, ownership and control of

the proceeds ofthe specified unlawful activity, in violation ofTitle 18, United States Code, Section

1956(a)(l)(B)(i).

       All in violation of Title 18, United States Code, Section 1956(h).




                                                 19
                                        COUNT THREE
                            Conspiracy to Defraud the United States
                                      (18U.S.C. §371)

       The United States Attorney further charges:

       94.     The United States Attorney re-alleges and incorporates by reference paragraphs 1-

88 of this Information.


       95.      From in or about 2013 through in or about September 2018, in the District of

Massachusetts and elsewhere, the defendant,

                                  WILLIAM RICK SINGER,

did unlawfully, voluntarily, intentionally and knowingly conspire, combine, confederate, and

agree with others known and unknown to the United States Attorney to defraud the United States

for the purpose of impeding, impairing, obstructing and defeating the lawful government function

of the IRS in the ascertainment, computation, assessment and collection of the revenue, to wit:

federal income taxes.


       All in violation of Title 18, United States Code, Section 371.




                                                20
                                          COUNT FOUR
                                       Obstruction of Justice
                                     (18U.S.C. § 1512(c)(2))

      The United States Attorney further charges:

       96.     The United States Attorney re-alleges and incorporates by reference paragraphs 1-

88 of this Information.


       97.      In or about October 2018, in the District of Massachusetts and elsewhere, the

defendant,

                                   WILLIAM RICK SINGER,

did corruptly obstruct, influence and impede, and attempt to obstruct, influence and impede, an

official proceeding, to wit, a federal grand jury investigation being conducted in the District of

Massachusetts, by informing several co-conspirators of the existence of the investigation and

encouraging them to take steps to thwart its progress.

       All in violation of Title 18, United States Code, Section 1512(c)(2).




                                                 21
                       RACKETEERING FORFEITURE ALLEGATION
                                        (18U.S.C. § 1963)

        The United States Attorney further alleges that:

       98.     Upon conviction ofthe offense in violation ofTitle 18, United States Code, Section

1962(d), set forth in Count One of this Information, the defendant,

                                   WILLIAM RICK SINGER,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 1963:

               a. any interest acquired or maintained in violation of Title 18, United States
                  Code, Section 1962;

               b. any interest in, security of, claim against, or property or contractual right of
                  any kind affording a source of influence over, any enterprise established,
                  operated, controlled, conducted, or participated in the conduct of, in violation
                  of Title 18, United States Code, Section 1962; and

               c. any property constituting, or derived from, any proceeds obtained, directly or
                  indirectly, from racketeering activity or unlawful debt collection in violation
                  of Title 18, United States Code, Section 1962.

The property to be forfeited includes, but is not limited to, the following assets:

               a. All funds on deposit in Bank of America checking account in the name of the
                  Key Worldwide Foundation ending in x0486;

               b. All funds on deposit in Wells Fargo checking account in the name of the Key
                  Worldwide Foundation ending in x2391;

               c. All assets owned or controlled by the Key Worldwide Foundation, including,
                  but not limited to:
                       i. KWF's investment in Jamtown;
                      ii. KWF's investment in Bluestone Partnership;
                     iii. KWF's investment in Hauser Private Equity;
                      iv. KWF's investment in WhamTech, Inc.;
                      V. KWF's investment in Sharky's Restaurant Chain - 10% control
                         purchase and related investment;
                      vi. KWF's investment in Swansea Football Club; and,
                     vii. KWF's investment in Virtual PhD; and.


                                                22
               d. $3,429,970.87, to be entered in the form of a forfeiture money judgment.

       99.     If any of the property described in Paragraph 98, above, as being forfeitable

pursuant to Title 18, United States Code, Section 1963(m), as a result of any act or omission ofthe
                                    i                                                        I



defendant ~


               a. cannot be located upon the exercise of due diligence;

               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jurisdiction of the Court;

               d. has been substantially diminished in value; or

               e. has been commingled with other property which cannot be divided without
                  difficulty;

it is the intention of the United States, pursuant to Title 18, United States Code, Section 1963(m)

to seek forfeiture of any other property of the defendant up to the value of the property described

in Paragraph 98 above.

       All pursuant to Title 18, United States Code, Section 1963.




                                                23
                    MONEY LAUNDERING FORFEITURE ALLEGATION
                                      (18 U.S.C. § 982(a)(1))

        The United States Attorney further alleges that:

       100.    Upon conviction ofthe offense in violation ofTitle 18, United States Code, Section

1956(h), set forth in Count Two of this Information, the defendant,

                                    WILLIAM RICK SINGER


shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(1), any

property, real or personal, involved in such offense, and any property traceable to such property.

The property to be forfeited includes, but is not limited to, the following:

           a. All funds on deposit in Bank of America checking accormt in the name of the Key
              Worldwide Foundation ending in x0486;

           b. All funds on deposit in Wells Fargo checking account in the name of the Key
              Worldwide Foundation ending in x2391;

           c. All assets owned or controlled by the Key Worldwide Foimdation, including, but
              not limited to:
                    i. KWF's investment in Jamtown;
                   ii.   KWF's investment in Bluestone Partnership;
                  iii.   KWF's investment in Hauser Private Equity;
                  iv.    KWF's investment in WhamTech, Inc.;
                   V.    KWF's investment in Sharky's Restaurant Chain - 10% control purchase
                      and related investment;
                  vi. KWF's investment in Swansea Football Club; and,
                  vii. KWF's investment in Virtual PhD;

           d. $3,429,970.87, to be entered in the form of a forfeiture money judgment.

       101.    If any of the property described in Paragraph 100, above, as being forfeitable

pursuant to Title 18, United States Code, Section 982(a)(1), as a result of any act or omission of

the defendant ~


               a. cannot be located upon the exercise of due diligence;


                                                24
               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jurisdiction of the Court;

               d. has been substantially diminished in value; or

               e. has been commingled with other property which cannot be divided without
                   difficulty;

it is the intention of the United States, pursuant to Title 18, United States Code, Section 982(b),

incorporatingTitle 21, United States Code, Section 853(p),to seek forfeiture of any other property

of the defendant up to the value of the property described in Paragraph 102 above.

       All pursuant to Title 18, United States Code, Section 982(a)(1).



                                                      ANDREW E. LELLING
                                                      UNITED STATES ATTORNEY



                                              By:
                                                      ERIC S. ROSEN
                                                      LESLIE A. WRIGHT
                                                      KRISTEN A. KEARNEY
                                                      JUSTIN D. O'CONNELL
                                                      Assistant U.S. Attorneys

Date: March 5, 2019




                                                 25
